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FORM A 2089 jy
FORM TO BE USED BY A PRISONER IN FILING A COMP neH AM 9: 3]
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § BBR 8 boo oe so,
SOUTHERN Bist y ieee
IN THE UNITED STATES DISTRICT COURT "4 tisthiey oF Towa
SOUTHERN DISTRICT OF IOWA

CUR sicher James ase
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(Enter above the FULL name and inmate
number of the plaintiff or plaintiffs in this action)

VS. COMPLAINT

anes Reyson Clements
‘ Stat ri Cr
Towa | Citn Col. te Deptttment

 

 

(Enter above the FULL name of each defendant
in this action)

(NOTE: If there is more than one plaintiff, the information in parts I and II should be shown for
EACH plaintiff by name, using a separate sheet of paper.

I. Previous Lawsuits:

A. Have you begun other lawsuits in State or Federal Court dealing with the same facts

involved in this action or otherwise relating to your imprisonment?
Yes( ) No(v)

B. If your answer to A is Yes, please answer questions 1 thru 7. (If there is more than
one lawsuit, describe the additional lawsuits on another sheet of paper, using the
same outline.)
I.

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1. Parties to this previous lawsuit At | A

 

 

 

 

 

 

 

 

Plaintiffs |
Defendants N / A

2. Court (if Federal Court, name the district; if State Court, name the county)

lA

3. Docket Number N [ A

4. Name of Judge to whom the case was assigned N / &

5. Disposition, if known (for example: Was the case dismissed? Was it
appealed? Is it still pending?) AL/ A.

6. Approximate date of filing lawsuit A / f&

7. Approximate date, pf LEE sat N [ -

Place of Present Confinement I5 > S« Kellogg | G ales ne Lll- Giyo{

A.

B.

Is there a prisoner grievance procedure in this institution?
Yes( ) No(.

Did you present the facts relating to your complaint in the state prisoner grievance
procedure? Yes( ) No(

If your answer is Yes,
1. What steps did you take?

2. What was the result?

If your answer is No, explain why not

Not Tnstiturieng || rssues [ours e eisgiction

If there is no prison grievance procedure in the institution, did you complain to
prison authorities? Yes( ) No(Y

If your answer is Yes,
1. What steps did you take?

2. What was the result?

 
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Ill. Parties
(In item A below, place your name in the first blank and place your present address in the
second blank. Do the same for additional! plaintiff(s), if any.)

A. Name of Plaintitf_CURiStoPher James MIS GEE

Address Knox Camby Jai{ 1509S, Kelley Galeshicy TT SH

B. Additional plaintiffs
NVA

 

 

 

 

(In item C below, place the full name of the defendant in the first blank, his official position in the
second blank, and his place of employment in the third blank. Use item D for the names, positions,
and places of employment of any additional defendants.)
C. Defendant _- owa City Police De Part ment
is employed as Towa City Police of Lice lS
at John Son County Po lice Depart ment wi Tous City
D. Additional defendants. § JameS Bryson Clements

and the United States of Anerica

 

 

IV. Jurisdiction
This complaint is brought pursuant to 42 U.S.C. § 1983, and jurisdiction is based on 28
U.S.C. § 1343(c). Plaintiff(s) allege(s) the defendant(s) acted under color of state law with
regard to the facts stated in part V of this complaint.
VI.

VIL

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Statement of Claim

(state here as briefly as possible the FACTS of your case. You MUST state exactly what
each defendant personally did, or failed to do, which resulted in harm to you. Include also
the names of other persons involved (for example, other inmates) and state the date and place
of all events. Attach an extra sheet if necessary, and write the heading PART V
CONTINUED at the top of the sheet. Keep to the facts. Do not give any legal arguments
or cite any cases.)

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the federal agenda Government Pur Sued Charges that was dcopPal
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Caled bo (aise an issue in Mr Meee's piacecing of lnis caastitsenl gyn} Sek
Llaims of an illeaal acest. pg5

(State briefly exactly what you ‘want the Court to do for you. Make no legal arguments. Do
not cite cases or statutes.)

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$10, 2204 Do Punitive damages
Immediate

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Statement Regarding Assistance in Preparing this Complaint
Did any person other than a named plaintiff in this action assist you in preparing this
complaint? Yes( )No(W

B. If your answer is Yes name the person who assisted you.

C. Signature of person who helped prepare complaint.

(Signature) _C Jhascbpho h. CM‘ Hee, (Date) “Ie | +04

 

VIII. Signature(s) of Plaintiff(s)

Signed the_15 day of uly , OA.
(Signature of Plaintiff) @Duuatsolu 9. OV Kee

Signatures of vdditionsi plaintiffs, if any:/
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